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                            No. 23-1052
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                             IN THE
                  United States Court of Appeals
             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                         ––––––––––––
  EVERGREEN SHIPPING AGENCY (AMERICA) CORP. AND EVERGREEN LINE JOINT
                         SERVICE AGREEMENT
                              Petitioners,

                                  v.

      FEDERAL MARITIME COMMISSION AND UNITED STATES OF AMERICA,
                            Respondents.
            ––––––––––––––––––––––––––––––––––––––––––
           ON PETITION FOR REVIEW OF AN ORDER OF THE
                 FEDERAL MARITIME COMMISSION


BRIEF FOR RESPONDENTS FEDERAL MARITIME COMMISSION AND
               UNITED STATES OF AMERICA


ROBERT B. NICHOLSON                      PHILLIP “CHRIS” HUGHEY
ROBERT J. WIGGERS                        General Counsel
Attorneys                                PAUL A. SCHOFIELD
U.S. DEPARTMENT OF JUSTICE               KATHRYN C. BUETTNER
950 PENNSYLVANIA AVENUE, N.W.            Attorney-Advisors
WASHINGTON, D.C. 20530-0001              FEDERAL MARITIME
PHONE: (202) 514-2460                    COMMISSION
robert.nicholson@usdoj.gov               800 N. CAPITOL ST., N.W.
robert.wiggers@usdoj.gov                 WASHINGTON, D.C. 20573
                                         PHONE: (202) 523-5740
                                         phughey@fmc.gov
                                         pschofield@fmc.gov
                                         kbuettner@fmc.gov
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  CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES


                               Parties and Amici

      The parties to the proceeding before the Federal Maritime Commission were

TCW, Inc., as Complainant, and Evergreen Shipping Agency (America) Corp. and

Evergreen Line Joint Service Agreement as Respondents.

      The parties to this petition for review are Evergreen Shipping Agency

(America) Corp. and Evergreen Line Joint Service Agreement, as Petitioners, and

the Federal Maritime Commission and the United States of America as

Respondents. The World Shipping Council and National Association of Waterfront

Employers have submitted a brief as amici curiae.

                             Ruling Under Review

      The ruling under review is the Federal Maritime Commission’s “Order

Affirming Initial Decision” issued on December 29, 2022, TCW, Inc., v. Evergreen

Shipping Agency (AM.) Corp. & Evergreen Line Joint Service Agreement, FMC

Docket No. 1966-I, 2022 WL 18068977 (FMC Dec. 29, 2022).




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                     GLOSSARY OF ABBREVIATIONS

Commission                  Federal Maritime Commission

Evergreen                   Evergreen Shipping Agency (America) Corp., and
                            Evergreen Line Joint Service Agreement

Initial Decision            Initial Decision of Small Claims Officer

Order                       Order Affirming Initial Decision of Small Claims
                            Officer, FMC Docket No. 1966(I)

Final Rule                  Interpretive Rule on Demurrage and Detention
                            Under the Shipping Act, 85 Fed. Reg. 29638
                            (issued May 18, 2020)

TCW, Inc.                   TCW

Yamaha Motor Company,       Yamaha
Ltd.

Evergreen Brief             Petitioners’ Corrected Opening Brief

BCO                         Beneficial Cargo Owner




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                        STATEMENT OF JURISDICTION

         The Federal Maritime Commission adjudicates complaints alleging

violations of the Shipping Act, 46 U.S.C. § 40101 et seq. In this complaint

proceeding involving an alleged violation of the Act, the Commission had subject

matter jurisdiction over the complaint under 46 U.S.C. § 41301. This Court has

jurisdiction over the timely petition for judicial review under 28 U.S.C. §

2342(3)(B).

                     STATEMENT OF THE ISSUES PRESENTED

        Whether the Commission properly held ocean common carrier Evergreen to

have violated the Act by assessing on motor carrier TCW equipment charges (also

known as late fee, per diem, or detention) for not returning the equipment to

Evergreen’s marine terminal on days when return was impossible because the

terminal was closed.

        RELEVANT STATUTORY AND REGULATORY PROVISIONS

        Pertinent statutes and regulations are provided in the addendum to this brief.

                           STATEMENT OF THE CASE

   I.      The Applicable Legal Framework

        The Shipping Act (46 U.S.C. § 41102(c)) requires ocean common carriers

like Evergreen to use “just and reasonable” practices in the handling of shippers’

property. Put another way, practices that are “unjust” or “unreasonable” violate the


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Shipping Act. See 46 C.F.R. § 545.4(d). To help the shipping public understand the

Commission’s reading of these broad terms in the context of demurrage and

detention, in 2020 it issued the interpretive regulation at issue in this case. 46

C.F.R. § 545.5. The agency said that it “will consider” the extent to which

demurrage and detention serves its primary purpose: a financial incentive to freight

fluidity. 46 C.F.R. § 545(c)(1). This is the so-called incentive principle. More

specifically, the agency advised that, absent extenuating circumstances, imposition

of fees for time “when empty containers cannot be returned” is “likely to be found

unreasonable.” 46 C.F.R. § 545.5(c)(2)(ii). The Commission added, however, that

“[n]othing in this rule precludes the Commission from considering other factors,

arguments, and evidence in addition to those specifically listed in this rule.” 46

C.F.R. § 545.5(f). All that said, the agency left development and application of

these interpretive principles of reasonableness to individual complaint proceedings.

      The Commission clearly understood that 46 C.F.R. § 545.5 would provide

guidance, not a “bright line,” to the shipping industry. As the agency explained in

the rulemaking, “the rule is not intended to, and cannot, solve every demurrage and

detention problem or quell all disputes. Rather, it reflects the Commission’s

finding that all segments of the industry will benefit from advance notice of how

the Commission will approach the ‘reasonableness’ inquiry under section

41102(c).” 85 Fed. Reg. at 29639. The Commission also set forth clearly what it


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means by the “incentive principle,” and how that principle is grounded in

longstanding agency precedent. As the Commission explained, “because the

purpose of demurrage and detention are to incentivize cargo movement, it will

consider in the reasonableness analysis under section 41102(c) the extent to which

demurrage and detention are serving their intended purposes as financial incentives

to promote freight fluidity.” 85 Fed. Reg. at 29651.

     II.      The Shipment at Issue

           Yamaha engaged Evergreen to transport a motorcycle by vessel from its

factory in Japan to the Port of Savannah (“Port”), and then by TCW truck – using

an Evergreen container and chassis1 (the equipment) -- on to Yamaha’s facility in

Newnan, Georgia. Initial Decision at 1, ¶ 2. TCW had four days and twenty-one

days, respectively, in which to return the chassis and the container to the Port, after

which late fees applied. Initial Decision at 9, ¶ 22.

           TCW picked up the equipment at the Port on April 28, 2020, and returned it

on May 26, 2020, the Tuesday after Memorial Day weekend. Id. at 2, ¶ 3. The

return had been delayed by, among other things, a covid-related closure at

Yamaha’s Newnan plant and by the closure of the Port of Savannah over the

Memorial Day weekend. Upon the late return of the equipment, Evergreen

imposed a fee of $1,490, which included $510 for the three days of Port closure.


1
    A chassis is the wheeled platform on which the container sits.
                                            3
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TCW asked Evergreen to waive the $510 part of the late fee, because it was

impossible to return the equipment when the Port was closed. Evergreen, however,

refused, and TCW, after paying the $510, went to the Commission for relief.

   III.   Proceedings before the Commission

      TCW complained about the $510 late fee to the Commission under its

simplified small claims program – and won. Initial Decision at 33. The Small

Claims Officer found that TCW’s return of the equipment to Savannah had been

delayed by the covid-related closure of the Yamaha plant in Newnan. She further

found that on the three days of Memorial Day weekend for which the disputed late

fee had been imposed, the Port of Savannah was closed, and thus that it was

impossible for TCW to return the equipment to Evergreen on those days. Under the

circumstances the Small Claims Officer concluded that imposition of the $510 late

fee was unjust and unreasonable in violation of the Shipping Act, and she ordered

Evergreen to pay TCW $510, plus accrued interest. The Small Claims Officer also

issued a cease and desist order that barred Evergreen “absent extenuating

circumstances” from “imposing per diem charges when imposition of per diem

charges does not serve its incentivizing purposes, such as when empty equipment

cannot be returned on weekends, holidays, and port closures.” Initial Decision at

32-33.




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       The Commission sua sponte decided to review the decision of the Small

Claims Officer. It ordered the parties to submit supplemental briefs and invited

interested outsiders to file amicus briefs. Order for Supplemental Briefing (April

26, 2021). After extensive briefing by the parties and shipping industry amici, the

Commission adopted the Initial Decision of the Small Claims Officer in its entirety

and affirmed. Order at 2. Given the now-adopted findings concerning both the

delay at the Yamaha plant and also the closure of the Port which made return of the

equipment impossible during the Memorial Day long weekend, the Commission

held that imposition of the $510 late fee could not incentivize the impossible and

thus was unjust and unreasonable. The Commission accordingly ordered return to

TCW of the $510, plus $11.62 in interest, and repeated the cease and desist order.

                          SUMMARY OF ARGUMENT

      Evergreen’s argument that the Commission’s 2020 interpretive rule requires

the agency to give equal consideration to factors other than the incentive principle

is at odds with the plain language of the rule. The rule requires it to consider only

one factor: the incentive principle. “In assessing the reasonableness of demurrage

and detention practices and regulations, the Commission will consider the extent to

which [they] . . . are serving their intended primary purposes as financial incentives

to promote freight fluidity.” 46 C.F.R. § 545.5(c)(1). (Emphasis added.) By

contrast, considerations other than the incentive principle are matters that the


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Commission “may consider,” but the burden is on the parties to show that they are

material to the issue of reasonableness in any particular case. See 46 C.F.R. §

545.5(c)(2)(iii) and (iv), (d), (e), and (f). (Emphasis added.) Thus, Evergreen’s

argument that the rule requires the Commission to give equal consideration to

factors other than the incentive principle is at odds with the plain language of the

rule.

        In fact, the agency did consider other factors, as it may, but it found them

not to be controlling. In this regard, it faithfully followed another provision of the

rule, which says: “Absent extenuating circumstances,” imposition of lateness fees

or penalties “such as when empty containers cannot be returned, are likely to be

found unreasonable.” 46 C.F.R. § 545.5(c)(2)(ii). When Evergreen imposed fees in

just this situation, it was on notice that, absent extenuating circumstances, its action

would “likely to be found unreasonable.” It failed to show extenuating

circumstances, and the Commission predictably found its conduct unreasonable.

        Finally, the Commission did not establish a bright-line rule of per se

unlawful conduct in this adjudicatory proceeding. Instead, it applied the guidance it

had issued in 46 C.F.R. § 545.5 to the facts of the case and concluded that

Evergreen had violated the Shipping Act.




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                                    ARGUMENT

      The charging of detention and demurrage fees is a carrier practice relating to

the receipt and delivery of property that must be “just and reasonable” under 46

U.S.C. § 41102(c). The Commission’s interpretive rule was the product of an

intensive examination of that very subject. It began with a nine-month Fact Finding

Investigation2 followed by a notice and comment rulemaking proceeding. Notice

of Proposed Rulemaking, Interpretive Rule on Demurrage and Detention Under

the Shipping Act, 84 Fed. Reg. 48850 (Sept. 17, 2019). Over one hundred

commenters, including the Amici here, participated in the rulemaking. Final Rule,

Interpretive Rule on Demurrage and Detention Under the Shipping Act, 85 Fed.

Reg. 29638, 29639 (May 18, 2020). The Interpretive Rule, codified at 46 C.F.R. §

545.5, is the end product of that process, and in publishing the Final Rule the

Commission provided a detailed explanation of why it considers the financial

incentive to promote freight fluidity as the primary purpose of such charges. Final

Rule, 85 Fed. Reg. at 29651-52. Evergreen does not actually disagree on that

point.3 Its argument is really that it has a better way to provide that incentive. The


2
 FF No. 28 - Conditions and Practices Relating to Detention, Demurrage, and Free
Time in International Oceanborne Commerce. Available at
https://www2.fmc.gov/readingroom/proceeding/FF%20No.%2028/.

3
 Evergreen Brief at 7 and Brief Amici Curiae of the World Shipping Council and
National Association of Waterfront Employers at 24, refer to the fact that

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question for the Court, however, is not whether Evergreen’s argument is

reasonable, but whether the Commission’s holding is unreasonable. Since the

Commission’s decision is plainly reasonable, it must be upheld.

I.    Standard of Review

      The Commission ruled that Evergreen's demurrage practice during port

closures was not "just and reasonable" as required by 46 U.S.C. § 41102(c). To the

extent that Evergreen contends that the Commission misinterpreted this broad

statutory language, judicial review follows the deferential standard of the second

branch of Chevron v. Natural Resources Defense Council, 467 U.S. 837, 843-845

(1984). To the extent that Evergreen contends that the Commission in its

interpretive rule promised to adjudicate demurrage practices one way but did so

here in a contrary way, judicial review asks whether the agency's conduct is

arbitrary and capricious. Under this deferential standard, the court will uphold the

agency so long as its action is "reasonable and reasonably explained." FCC v.

Prometheus Radio Project, 141 S. Ct. 1150, (Apr. 1, 2021).




demurrage and detention charges also play a compensatory role. The Commission
has acknowledged that but found that their penal role predominates and the carriers
pay for the equipment through other mechanisms. Final Rule at 29651. It should
also be noted that carrier rates are not regulated. The Shipping Act relies mostly on
the restrictions on anticompetitive agreements (46 U.S.C. §§ 40301-40307) to
maintain reasonable rates. The only issue here is when the carriers can charge, not
how much.
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II.   In Finding Evergreen Charging Per Diem on Weekends, Holidays, and
Temporary Closures Was Unjust and Unreasonable Under § 41102(c), the
Commission followed the Interpretive Rule, Considered the Incentive
Principle (As Required), and Other Factors

       To find a violation, the statute requires that the practice be unjust or

unreasonable. In 46 C.F.R. § 545.5, the Commission explains how, in individual

cases, it will assess the reasonableness of demurrage and detention charges and

states that the Commission will consider the extent to which they are serving their

intended primary incentivizing purpose. 46 C.F.R. § 545.5(c)(1). With this

unambiguous usage of the word “will,” the agency has made very clear that the one

aspect of the rule it will always analyze in a case like this is the incentive principle.

“[T]he Commission will consider the extent to which demurrage and detention are

serving their intended primary purposes as financial incentives to promote freight

fluidity.” Id.

       Evergreen argues that this was the only factor the Commission considered,

and contends that this was reversible error because, it says, the Commission was

required to consider “all factors, arguments, and evidence in addition to those

specifically listed.” Evergreen Brief at 31. Evergreen contends that “the

Interpretive Rule states that the Commission must consider all factors, arguments,

and evidence in addition to those specifically listed.” Id. (Emphasis added.)

       However, the actual text of 46 C.F.R § 545.5(f) is neither as rigid nor as

broad as Evergreen depicts it: “Nothing in this rule precludes the Commission
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from considering factors, arguments, and evidence in addition to those specifically

listed in this rule.” There is a marked difference between stating that the

Commission must do something, as Evergreen argues, and that it is not precluded

from doing so, as the actual rule text makes clear. Moreover, every other paragraph

of § 545.5, apart from the section on the incentive principle, uses the words “may

consider” or “may further consider,” in contrast to the incentive principle’s use of

the phrase “will consider.” Compare 46 C.F.R. § 545.5(c)(1) with 46 C.F.R. §§

545.5(c)(2)(iii), 545.5(d), and 545.5(e). See also 85 Fed. Reg. 29638, 29641 (May

18, 2020) (“[A]side from the general incentive principle, which the proposed rule

indicated the Commission will consider, the particular applications of that principle

and other factors listed are things the Commission may consider.”) (Emphasis in

original.)

       The Commission, in any event, did consider numerous other factors,

arguments, and evidence in this case. Indeed, Evergreen lists numerous facts that

were considered by the agency. Evergreen Brief at 32-33. As explained below, the

Commission sufficiently analyzed these facts in reaching its decision in this case.

      A. Notice of the Closure of the Port of Savannah

      Evergreen argues that the Commission did not consider that TCW had

advance notice of the Port of Savannah closure. Evergreen Brief at 36-38.

However, this fact was considered as part of the Commission’s overall analysis and


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adoption of the Initial Decision “in its entirety.” Order at 2. In response to

Evergreen’s argument about per diem and “once-in-demurrage, always-in-

demurrage,” the Small Claims Officer wrote: “In addition, Respondents assert that

Claimant was well aware the port would be closed on Saturday, May 23rd and that

Claimant’s free time expired before May 23rd.” The Small Claims Officer noted

that in their Answer Respondents had asserted that “[t]herefore, under the well-

established principle of ‘Once on demurrage, always on demurrage,’ as well as the

UIIA [Uniform Intermodal Interchange and Facilities Access Agreement], the

Addendum and respondent’s per diem rule, claimant’s failure to return the

equipment before May 23rd entitled respondent to the now disputed per diem.”

Initial Decision at 7. Simply because neither the Small Claims Officer nor the

Commission was persuaded that this fact should outweigh the analysis of the

incentivizing principle does not mean it was not considered.

      Evergreen also incorrectly argues that knowledge of a port closure in

advance was an “extenuating circumstance” that afforded TCW “every opportunity

to change its own behavior to avoid charges.” Evergreen Brief at 34. Evergreen,

however, fails to explain what opportunities TCW failed to act upon. Most

importantly, Evergreen fails to refute the facts presented by TCW and accepted by

the Small Claims Officer showing that TCW could not, regardless of incentive,

return the equipment before the closure. Initial Decision at 25-26. The evidence on


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which the Commission relied was substantial and unrefuted, so its findings must be

accepted. See, e.g., Consolo v. Fed. Mar. Comm’n, 383 U.S. 607, 619 (1966).

      B. The Cause of the Delay

      Similarly, Evergreen complains that the Commission ignored that it was not

the cause of the delay. Evergreen Brief at 39. In fact, the Small Claims Officer

clearly considered the reasoning for the delay: “Claimant explains that it was

unable to timely return the equipment in question despite its ‘best efforts to work

with the BCO [beneficial cargo owner] to ensure that the cargo and equipment . . .

moved as fluidly as possible’ because the BCO’s plant was shut down due to

COVID-19.” Initial Decision at 25. The Small Claims Officer also considered that

the Port of Savannah was closed from May 23rd to May 26th due to lower volumes

on Saturdays and that May 25th was a Memorial Day holiday. Id. The Small

Claims Officer, taking these facts into consideration, found that “the per diem

charges imposed by Respondents from May 23rd to May 25th were unreasonable

because they could not have incentivized cargo movement.” Id. at 25-26.

Evergreen argues that the Commission needs to explain why, if the delay was not

its fault, Evergreen should not be permitted to assess detention charges on port

closure days. Evergreen Brief at 39. However, the Small Claims Officer answered

that question: the charges could not have incentivized cargo movement. Initial

Decision at 25-26.


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      Evergreen has not explained why its lack of fault should be decisive here. If

the charges were primarily compensation for use of the equipment, there might be

an argument that the carriers should be compensated where the losses were not

their fault. The Commission considered that issue in its rulemaking, however, and

found that the charges are more in the nature of penalties, and therefore should not

be assessed when they cannot serve their incentive function. 85 Fed. Reg. at

29651-52. Evergreen's lack of fault plays no role in that context.

      C. Contractual Terms

      Evergreen also argues that the Commission ignored the fact that TCW

agreed to contractual terms about per diem charges. Evergreen Brief at 41. The

Commission, however, did consider the contractual terms between TCW and

Evergreen. It found that the evidence established that imposition of the disputed

per diem charged by Evergreen was “occurring on a normal, customary, and

continuous” basis and was a part of Evergreen’s normal business practices. Initial

Decision at 22. The Order noted that Evergreen had specifically stated in its reply

brief, “Evergreen Parties’ only intent is to bill per diem allowed by the PTA

[Preferred Trucker Agreement] that Claimant agreed to, which includes the PTA’s

requirement to be a signatory to the UIIA [Uniform Intermodal Interchange and

Facilities Access Agreement] addendum which mandates the alleged unreasonable

conduct.” Order at 8, citing Resp. Reply Brief at 2. The Commission analyzed the


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contractual terms and found that the content of the relevant addendum was such

that it mandated the payment of per diem on days when the port was closed, and

that imposition of the disputed per diem charged by Evergreen was part of its

business practice. The Commission determined, however, that the agency retains

jurisdiction to determine whether these terms contravene the “just and reasonable”

requirements of 46 U.S.C. § 41102(c). Order at 6. Ultimately, the Commission

found that the charges were not just and reasonable, regardless of the contractual

terms. Although the conclusion reached by the Commission was not what

Evergreen wanted, this does not mean the relevant facts were not analyzed by the

agency.

III.   The Commission Correctly Applied the Incentive Principle

       In 46 C.F.R. § 545.5, the Commission set forth how it will assess the

reasonableness of demurrage and detention charges and stated that the Commission

will consider the extent to which such charges are serving their intended primary

incentivizing purpose. 46 C.F.R. § 545.5(c)(1). The one aspect of the rule that the

Commission is required to analyze is the incentive principle, and the agency did so

clearly and deliberately. See Order at 9 –11.

       The agency’s interpretive rule provides specific clarity with respect to the

return of empty containers: “[a]bsent extenuating circumstances, practices and

regulations that provide for imposition of detention when it does not serve its

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incentivizing purposes, such as when empty containers cannot be returned, are

likely to be found unreasonable.” 46 C.F.R. § 545.5(c)(2)(ii) (Emphasis added.)

During the rulemaking, the Commission clearly articulated that detention charges

cannot incentivize the return of a container when a terminal refuses to accept the

container. 85 Fed. Reg. at 29655. In this case, there was nothing TCW could have

done to return the container between May 23-25, 2020, because the port was closed

and thus not receiving empty containers. The per diem charges were unreasonable

because the port was closed on those days: it was impossible for TCW to return the

equipment, and for this reason, the charges could not have incentivized cargo

movement.

      The Commission previously considered and rejected the argument that not

charging detention during a port closure would disincentivize the return of a

container before the closure went into effect. Cf. Evergreen Brief at 44. This

argument was discussed, and refuted, during the rulemaking process establishing

the interpretive rule. 85 Fed. Reg. at 29652. As the Commission explained at that

time, this disincentivizing argument neglects the commercial incentives to

returning empty containers and the opposite position, that the ability to collect per

diem, even if it is impossible for a truck to return equipment, might disincentivize

common carriers and marine terminal operators from acting efficiently. Id.

Although Evergreen understandably focuses solely on its own financial


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motivations, the Commission must consider the broader context of freight fluidity

throughout the supply chain -- such as potential logjams if there is a rush to get

equipment in before a weekend closure.

      Evergreen argues “that knowing in advance that the terminal will be closed

and charges will accrue on such day most emphatically provides an incentive to

return the equipment before the closed day.” Evergreen Brief at 44-45. Ironically,

in this matter, as Evergreen acknowledges (Evergreen Brief at 34, 45), TCW still

incurred substantial fees, of which the fees accrued on the port closure dates were

only a small portion. That is to say, while the Commission ordered Evergreen to

refund $510.00 in charges, that was only about one-third of the $1490.00 total

amount Evergreen had invoiced to TCW and TCW had paid. Regardless of any

incentive to return the equipment, TCW simply was not able to do so before the

port closure. As the Initial Decision stated, “TCW picked up the equipment in

question on April 28, 2020, and by the time it returned them on May 26, 2020,

their allotted free time had expired (May 19, 2020, for the container and May 4,

2020, for the chassis) . . . Evergreen-Agent then invoiced TCW for per diem

charges for the equipment in the amount of $1,050 for 7 days of per diem for the

container and $440.00 for 22 days of per diem for the chassis . . . TCW disputed

the charges on the basis that it should not have been charged per diem from May

23, 2020, to May 26, 2020, totaling $510.00, because the Port of Savannah was


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closed on those days, making TCW unable to return the equipment to the port, but

Respondents declined to waive the charges.” Initial Decision at 2.

      The Order also discussed whether TCW could have returned the container

prior to the May 23-25, 2020, closure and noted that the container was already in

per diem status when the closure took place. Order at 10. The Order explained that

a “once-in-demurrage, always-in-demurrage” principle was addressed at length

during the rulemaking process, with arguments both for and against the principle.

The Order cited the following language in the rule, stating that the Commission

“does not agree with some commenters’ arguments that it is always a reasonable

practice to charge detention and demurrage after free time regardless of cargo

availability or the ability to return equipment.” Order at 11 citing 85 Fed. Reg. at

29653.

      Finally, there is no merit to Evergreen's claim that the Commission has

established a "Bright Line" rule of per se unlawfulness. This is essentially a

restatement of arguments already made and answered. See pages 8-14

above. Suffice it to add here that the rule dealing expressly with the situation of

fees for time "when empty containers cannot be returned" makes clear that if the

carrier has "extenuating circumstances" for the fees, they will not be found unjust

or unreasonable. 46 C.F.R. § 545.5(c)(2)(ii). Evergreen simply failed to show any

extenuating circumstances.


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                                  CONCLUSION

      Evergreen’s arguments show little consideration for the specific text of 46

C.F.R. §545.5. In its adjudicatory proceeding, the Commission consistently applied
the guidance set forth in the rule and carefully considered all the evidence and facts
that were brought before it. There was no error by the Commission, simply the

well-reasoned and straightforward application of a rule that Evergreen finds
contrary to its own interests. The Court should deny Evergreen’s petition for
review.


                                       Respectfully submitted,

                                       /s/ PAUL A. SCHOFIELD

ROBERT B. NICHOLSON                             PHILLIP “CHRIS” HUGHEY
ROBERT J. WIGGERS                               General Counsel
Attorneys                                       PAUL A. SCHOFIELD
U.S. DEPARTMENT OF JUSTICE                       KATHRYN C. BUETTNER
950 PENNSYLVANIA AVE., N.W.                       Attorney-Advisors
WASHINGTON, D.C. 20530-0001                     FEDERAL MARITIME
PHONE: (202) 514-2460                           COMMISSION
robert.nicholson@usdoj.gov                      800 N. CAPITOL ST., N.W.
robert.wiggers@usdoj.gov                        WASHINGTON, D.C. 20573
                                                PHONE: (202) 523-5740
                                                phughey@fmc.gov
                                                pschofield@fmc.gov
                                                kbuettner@fmc.gov




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      I HEREBY CERTIFY that the foregoing brief complies with the type-

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                                             /s/ Paul A. Schofield
                                             PAUL A. SCHOFIELD
                                             Attorney-Advisor
                                             FEDERAL MARITIME
                                             COMMISSION
                                             800 N. Capitol St., N.W.
                                             WASHINGTON, D.C. 20573
                                             PHONE: (202) 523-5740
                                             pschofield@fmc.gov




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                          CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was electronically filed with the

Clerk of the Court on this 28th day of June, 2023, using the CM/ECF system which

will send notification of such filing to the parties at the email addresses listed below:

Robert K. Magovern (#50634)
Cozen O’Connor
1200 19th Street, N.W.
Washington, DC 20036
(202) 463-2539
rmagovern@cozen.com
Counsel for Petitioners Evergreen Shipping Agency (America) Corp. and
Evergreen Line Joint Service Agreement

Robert B. Nicholson
Robert J. Wiggers
U.S. Department of Justice, Antitrust Division, Appellate Section
950 Pennsylvania Avenue, N.W., Room 3224, Washington, D.C. 20530
Email: robert.nicholson@usdoj.gov; robert.wiggers@usdoj.gov
Counsel for Respondent United States of America


                                         /s/ Paul A. Schofield
                                         PAUL A. SCHOFIELD
                                         Attorney-Advisor
                                         FEDERAL MARITIME
                                         COMMISSION
                                         800 N. Capitol St., N.W.
                                         WASHINGTON, D.C. 20573
                                         PHONE: (202) 523-5740
                                         pschofield@fmc.gov




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                          ADDENDUM




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Section 41102(c) of title 46 of the U.S. Code:

      A common carrier, marine terminal operator, or ocean transportation
      intermediary may not fail to establish, observe, and enforce just and
      reasonable regulations and practices relating to or connected with
      receiving, handling, storing, or delivering property.

§ 545.5 Interpretation of Shipping Act of 1984 - Unjust and
unreasonable practices with respect to demurrage and detention.

    (a) Purpose. The purpose of this rule is to provide guidance about how the
Commission will interpret 46 U.S.C. 41102(c) and § 545.4(d) in the context of
demurrage and detention.
    (b) Applicability and scope. This rule applies to practices and regulations
relating to demurrage and detention for containerized cargo. For purposes of this
rule, the terms demurrage and detention encompass any charges, including “per
diem,” assessed by ocean common carriers, marine terminal operators, or ocean
transportation intermediaries (“regulated entities”) related to the use of marine
terminal space (e.g., land) or shipping containers, not including freight charges.
    (c) Incentive principle –
(1) General. In assessing the reasonableness of demurrage and detention practices
and regulations, the Commission will consider the extent to which demurrage and
detention are serving their intended primary purposes as financial incentives to
promote freight fluidity.
(2) Particular applications of incentive principle –
(i) Cargo availability. The Commission may consider in the reasonableness
analysis the extent to which demurrage practices and regulations relate demurrage
or free time to cargo availability for retrieval.
(ii) Empty container return. Absent extenuating circumstances, practices and
regulations that provide for imposition of detention when it does not serve its
incentivizing purposes, such as when empty containers cannot be returned, are
likely to be found unreasonable.
(iii) Notice of cargo availability. In assessing the reasonableness of demurrage
practices and regulations, the Commission may consider whether and how
regulated entities provide notice to cargo interests that cargo is available for
retrieval. The Commission may consider the type of notice, to whom notice is
provided, the format of notice, method of distribution of notice, the timing of
notice, and the effect of the notice.
(iv) Government inspections. In assessing the reasonableness of demurrage and
detention practices in the context of government inspections, the Commission may

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consider the extent to which demurrage and detention are serving their intended
purposes and may also consider any extenuating circumstances.
    (d) Demurrage and detention policies. The Commission may consider in the
reasonableness analysis the existence, accessibility, content, and clarity of policies
implementing demurrage and detention practices and regulations, including dispute
resolution policies and practices and regulations regarding demurrage and
detention billing. In assessing dispute resolution policies, the Commission may
further consider the extent to which they contain information about points of
contact, timeframes, and corroboration requirements.
    (e) Transparent terminology. The Commission may consider in the
reasonableness analysis the extent to which regulated entities have clearly defined
the terms used in demurrage and detention practices and regulations, the
accessibility of definitions, and the extent to which the definitions differ from how
the terms are used in other contexts.
    (f) Non-Preclusion. Nothing in this rule precludes the Commission from
considering factors, arguments, and evidence in addition to those specifically listed
in this rule.




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